IN THE UNITED STATES DISTRICT COURT

  

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA i ‘y
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JAMES LEWIS BRYANT, JR.

  
   
 

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The Grand Jury charges:

On or about September 4, 2014, in the County of Forsyth, in the
Middle District of North Carolina, JAMES LEWIS BRYANT, JR., having
been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly did possess in commerce and affecting
commerce a firearm, that is, a Smith & Wesson .357 Magnum caliber
handgun; in violation of Title 18, United States Code, Sections

922{(g) (1) and 924 (a) (2).

A TRUE BILL:

FOREPERSON

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ANDREW C. COCHRAN f
SPECIAL ASSISTANT UNITED STATES ATTORNEY

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